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                                                                                                 E-FILED
                                                                 Monday, 01 August, 2016 05:01:33 PM
                                                                        Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS


SANDRA BROWN, #R-35900, et al.,               )
                                              )
Plaintiffs,                                   )
                                              )
vs.                                           )       No. 15-1447-MMM
                                              )
ANGELA LOCKE, et al.,                         )
                                              )
Defendants.                                   )


 DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO ENFORCE SUBPOENA
      AND REPLY IN SUPPORT OF MOTION TO EXTEND DISCOVERY

        NOW COME the defendants, ANGELA LOCKE, CLARA CHARRON (sued as

“Sharon”), ALAN PASLEY, DEBBIE DENNING, JOSEPH YURKOVICH, FELIPE ZAVALA,

RENEE HATFIELD, JOHN BALDWIN, CHRISTINE BRANNON, J. NESWICK, AARON

LEESMAN, MONICA SLATER, TAMMY LINNE, JOSHUA MERREIGHN, DANA

CHAUDOIN (sued as “Chaddon”), DUSTY MONTGOMERY, JEFF MASON, SHABEDA

WARDEN-PENNINGTON DAVID BRAINARD, and PENNY JOHNSON, by and through their

attorney, Lisa Madigan, Attorney General for the State of Illinois, and for their Response to

Plaintiff’s Motion to Enforce Subpoena and Reply in Support of Motion to Extend Discovery, state

as follows:

        Two issues are pending before the Court. First, Plaintiffs ask the Court to enforce its

30(b)(6) subpoena. On August 1, 2016, undersigned counsel notified Plaintiff’s counsel of the

people identified to testify on three of the six topics and identified four available dates on which

the depositions could be taken. But, as explained below, Plaintiffs should not be able to exceed the

limits of the agreed schedule on class certification and seek merits discovery. Second, Defendants



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have asked the Court to extend the current discovery schedule. In lieu of extending discovery,

Defendants have informed Plaintiffs that they will instead interview putative class members.

Plaintiffs’ counsel has objected, claiming an attorney-client relationship with putative class

members. As set forth below, Plaintiffs’ counsel does not have an attorney-client relationship with

the putative class, and controlling case authority demonstrates that Defendants are entitled to

contact putative class members prior to class certification.

   1. Plaintiff’s Rule 30(b)(6) Subpoena

       Plaintiffs seek testimony allegedly relating to class certification on six separate topics.

Three of the topics are relevant to class certification issues: (i) the October 31, 2013 search in

question; (iv) policies and procedures relating to searches as of October 31, 2013; and (v) any

changes to such policies and procedures after October 31, 2013. Undersigned counsel has

identified people to testify on behalf of DOC on these three topics, which are related to class

certification issues. Three of the topics, however, are not relevant to class certification, and relate

only, if at all, to the merits of the case: (ii) any additional searches at any Illinois prisons housing

female prisoners since October 2008; (iii) any shakedowns at Logan Correctional Center involving

more than 100 prisoners since the date female offenders were housed at the facility; and (vi) all

investigations by the IDOC relating to the October 31, 2013 search. Defendants object to

deposition topics ii, iii and vi, as they exceed the scope of the Parties’ Proposed Scheduling Plan

[Dkt 51] as amended by the Court in a text order on July 8, 2016, which allows only class discovery

but not merits discovery.

   2. Defendants’ Motion to Extend Discovery

       Defendants moved to extend the discovery schedule because of the recent need to substitute

counsel. After getting up to speed on the issues in this case, including reviewing the numerous



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declarations that Plaintiffs have tendered from putative class members, Defendants’ new counsel

informed counsel for Plaintiffs that even if class discovery was not extended, Defendants intended

to interview putative class members. In a letter dated July 26, 2016, Plaintiffs’ counsel objected to

Defendants contacting putative class members, claiming that they were all represented by counsel

based on the classes previously certified in Throgmorton v. Reynolds, ILCD Case No. 12-3087 (J.

Mills), and therefore Defendants were prohibited from contacting them under Rule 4.2 of the

Illinois Rules of Professional Conduct. See 7/26/16 Letter from Ruth Brown to Laura Bautista,

attached as Exhibit 1. As Defendants’ set forth in their letter to Plaintiffs’ counsel dated July 29,

2016, attached as Exhibit 2, Rule 4.2 is inapplicable, and Plaintiffs’ objection has no merit.

Defendants ask this Court to confirm that Defendants’ counsel may contact putative class members

in this case unless and until the time a class may be certified.

       First, Plaintiffs’ counsel has no attorney-client relationship with putative class members

with regard to the claims asserted in this matter. Plaintiffs’ counsel here is presently counsel to the

certified classes in Throgmorton, a case relating to a 2011 search in Lincoln Correctional Center,

but that does not create an attorney-client relationship with putative class members in Brown

relating to the facts alleged in the Brown matter. The two cases concern two different searches that

happened two years apart in two separate facilities. Even if some of the putative plaintiffs in Brown

are actual class members in Throgmorton and therefore clients of Plaintiffs’ counsel’s firm for

purposes of that case, that does not mean that counsel currently represents them with regard to

their putative claims in Brown. Indeed, Comment 3 to Rule 4.2 states: “This Rule does not prohibit

communication with a represented person, or an employee or agent of such a person, concerning

matters outside the representation.” The facts and claims in Brown are matters outside the

representation in Throgmorton.



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       The fact that the court in Throgmorton certified an injunctive class relating to future

searches of all women who were incarcerated at Logan Correctional Center (at the time of

certification, in 2014), and women who will be incarcerated there in the future, does not change

this analysis. In Throgmorton, no injunctive relief has been granted on the merits relating to future

searches that would encompass the facts alleged in Brown. Indeed, that is precisely why Plaintiffs’

counsel filed a separate Brown action, and argued to this Court on the motion to dismiss that the

two cases were separate and distinct – regardless of overlapping injunctive class definitions – prior

to a determination on the merits. Plaintiffs’ counsel cannot have it both ways. They have contacted

putative class members and obtained declarations, and are now trying to prevent Defendants’

counsel from speaking with putative class members. Prior to a merits determination in

Throgmorton, or a decision on class certification in this case, Plaintiffs’ counsel does not represent

the putative class members in Brown relating to the facts alleged in this action.

       Second, since Plaintiffs’ counsel have no attorney-client relationship with putative class

members regarding the facts alleged in Brown, the law in the Seventh Circuit is clear that there is

no prohibition from Defendants contacting putative class members. See, e.g., Williams v.

Chartwell Financial Services, Ltd., 204 F.3d 748, 759 (7th Cir. 2000); Kuhl v. Guitar Ctr. Stores,

Inc., 07 C 0214, 2008 WL 5244570 (N.D. Ill. Dec. 16, 2008). Plaintiffs have cited no contrary

authority.

       Accordingly, since Rule 4.2 of the Illinois Rules of Professional Conduct does not apply,

Defendants are entitled to contact putative class members. If the Court concurs, Defendants will

withdraw their motion to extend the scheduling order and abide by the current schedule, as

amended by the Court on July 8, 2016.

   WHEREFORE, Defendants respectfully request that the Court:



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       1. Quash Plaintiffs’ 30(b)(6) subpoena regarding topics ii, iii and vi as not relevant to

           class certification issues;

       2. Deny Plaintiffs’ motion to enforce the subpoena as moot;

       3. Allow Defendants to contact putative class members unless and until a class may be

           certified in this action; and

       4. Grant such other and further relief the Court deems just and fair.


Dated: August 1, 2016

                                             Respectfully Submitted,

                                             s/ Laura K. Bautista
                                             Laura K. Bautista




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                                CERTIFICATE OF SERVICE



       I, Laura K. Bautista, Assistant Attorney General, certify that a copy of the foregoing

document, Defendants’ Response to Plaintiffs’ Motion to Enforce Subpoena and Reply In Support

of Motion to Extend Discovery, was electronically filed on August 1, 2016, with the Clerk of Court

using the CM/ECF system which will send notification of such filing to the following:


Arthur Loevy                  loevylaw@loevy.com
Jonathan Loevy                jon@loevy.com
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                                                    /s/ Laura K. Bautista__________
                                                    LAURA K. BAUTISTA




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